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October 15, 2024

VIA ECF

Hon. Mark W. Pedersen, Magistrate Judge
United States District Court
Western District of New York
100 State Street
Rochester, New York 14614

       Re:       Singleton v. The City of Geneva, et al.,
                 Civil Action No.: 6:23-cv-06359-EAW-MJP
                 Letter Request for an Extension of the Scheduling Order

Dear Judge Pedersen:
        The City of Geneva (the “City”) and Detective Steven Vine (“Det. Vine”) (collectively,
“Defendants”), and Plaintiff respectfully submit this letter as a joint request for an extension of the
deadlines to complete discovery in the above referenced action based upon good cause, on consent
of all parties.
       The parties have continued to facilitate and work towards completion of paper discovery.
Defendants have obtained additional communications and made another production to Plaintiff.
As of the date of Defendants’ previous request to the Court on August 15, 2024, the parties were
awaiting receipt of Plaintiff’s cell phone records from Plaintiff’s phone carrier. These records
remain outstanding and the parties continue to await receipt of the same.
       Based on records in the parties’ possession, Defendants are in the process of serving a
subpoena and obtaining records from the New York State Department of Corrections and
Community Supervision, Parole Division for records regarding Plaintiff. In light of the
outstanding records, and the time frame third parties have been taking to respond to the parties’
subpoenas, the Defendants respectfully submit that there is good cause for granting a ninety (90)
day extension of the discovery deadlines as follows:
             •   Paper discovery. The parties shall complete all paper discovery no later than
                 January 13, 2025;
             •   Depositions. The parties shall complete all depositions no later than May 15,
                 2025;
             •   Close of discovery. The parties shall complete all discovery by September 13,
                 2025.
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        The undersigned was unable to make the present request a week in advance because I
unexpectedly underwent emergency oral surgery. As such, I have been out of the office and just
had my stitches removed yesterday. The parties have made three prior joint requests for an
extension of certain deadlines in the discovery order on April 9, 2024, June 13, 2024, and August
15, 2024, which were granted based on the fact that the parties were waiting upon receipt of third
party records that the parties believe are relevant to the issues in the case. The parties are now in
the beginning stages of discussing and scheduling party and non-party depositions. Defendants
thank the Court for its time and consideration of this request and are available at the Court’s
convenience to address any questions.




                                                              Respectfully submitted,


                                                              Shannon T. O’Connor
       CC:     All Counsel of Record via ECF
